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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: TERRORIST ATTACKS ON                                          ORDER
SEPTEMBER 11, 2001                                                   03 MDL 1570 (GBD)

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This document relates to:
         02 CV 6977 (GBD)
         03 CV 6978 (GBD)
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GEORGE B. DANIELS, District Judge:

         Defendant Sana-Bell, Inc. moved to dismiss the complaints against it on the sole ground

that “the corporation no longer exists” because it had allegedly merged into codefendant Sanabel

Al Kheer.1 Although it is presumed that the motion was made in good faith, the evidence

submitted by defendant Sana-Bell, Inc. was insufficient to establish that the entity had formally

dissolved and no longer was a viable legal entity.2 Accordingly, by Order dated July 27, 2007,

this Court denied defendant Sana-Bell, Inc.’s motion to dismiss. Thereafter, defendant Sana-

Bell, Inc. refused to respond to plaintiffs’ document requests claiming that it had adopted the

outstanding motion by defendant Sanabel Al Kheer to dismiss for failure to state a claim


         1
           The Notices of Motion, separately filed in the Federal Ins. Co. v. al Qaeda and Ashton
v. al Qaeda actions, both state that Sana-Bell, Inc. is seeking “the following relief: Dismissal
with prejudice from plaintiffs’ Complaint as the entity no longer exists.” (Notices of Mot., dated
5/19/06 & 7/31/06, at 1). It’s proposed Court order of dismissal reads as follows: “That Sana-
Bell, Inc. is dismissed with prejudice as a Defendant from Plaintiffs’ complaint as Sana-Bell, Inc.
has merged into Sanabel Al Kheer.” (Sana-Bell, Inc.’s Supp. Mems., Ex. C) (Defendant Sana-
Bell, Inc. identifies itself as “Sanabil, Inc.” in the Federal Insurance proposed order).
         2
          In support of its motion, defendant Sana-Bell, Inc. submitted: (1) an Assignment of
Judgment, dated February 28, 2001, wherein defendant Sana-Bell, Inc. assigned, as a charitable
donation to defendant Sanabel Al Kheer, it legal rights to prosecute and collect a potential
judgment in a pending litigation entitled Sana-Bell, Inc. v. BMI Leasing, Inc.; and (2) a June 3,
2004 Certificate, from the Department of Consumer and Regulatory Affairs for the District of
Columbia, indicating that Sana-Bell, Inc.’s articles of incorporation were revoked on September
9, 2002, for failure to file reports and pay fees.
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pursuant to Fed.R.Civ.P. 12(b)(6). Plaintiffs are requesting that this Court instruct defendant

Sana-Bell, Inc. to comply with the document requests served upon it. In response, defendant

Sana-Bell, Inc. is seeking clarification of the July 27th Order.

       Defendant Sana-Bell, Inc. contends that, in its original moving papers, it had

incorporated by reference the Rule 12(b)(6) motion asserted by its claimed successor entity,

defendant Sanabel Al Kheer. Defendant Sana-Bell, Inc. was required to “state with particularity

the grounds” upon which its motion was based. Fed.R.Civ.P. 7(b)(1).3 Defendant Sana-Bell,

Inc.’s passing reference to defendant Sanabel Al Kheer’s motion did not have the effect of

asserting additional grounds for dismissal, or seeking separate relief not requested in defendant

Sana-Bell, Inc.’s own Rule 12 motion.

           Defendant Sana-Bell, Inc. objects to plaintiffs’ discovery requests noting that “most if

not all of Sana-Bell’s documents are in the custody and possession of Sanabel Al Kheer . . .”

(Letter from McMahon to Court of 11/14/07, at 2). Thus, defendant Sana-Bell, Inc. “reasonably

believe[s] that it was not the Court’s intent, by its specific limiting Order, to place Sanabel Al

Kheer in the unique position of having to tender discovery prior to having its motion to dismiss

ruled upon.” (Id.).

       The outstanding discovery request at issue is not directed to defendant Sanabel Al Kheer.

Given defendant Sana-Bell, Inc.’s argument that it no longer exists, it would, therefore, either

not be in possession of responsive documents or to the extent that it has possession, custody or

control over responsive documents, such documents should be produce.


       3
           The only argument made in support of the motion to dismiss was that defendant Sana-
Bell, Inc. “assigned all right, title and interest to Sanabel Al Kheer in 2001 and because the
corporation no longer exists.” (Sana-Bell, Inc.’s Supp. Mems. at 2).

                                                   2
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